Case 2:11-cv-14328-JEM Document 86 Entered on FLSD Docket 05/10/2018 Page 1 of 2




                          UN ITED STA TES DISTRICT COU RT FO R TH E
                               SOU TH ERN DISTRICT OF FLO RIDA

                            CaseNo.1I-I43A
                                         aE
                                          I8-CIV-M ARTW EZ/LU CH

     UN ITED STA TES ex rel.JOHN SIM O hCS
     and
     LEW IS COOK;and JOHN SIM ONS,
     individually,
                               Plaintiffs,


     H EA LTH AN D PA LLIA TIV E SERV ICES
     OF THE TREASURE COAST,IN C.,etal,

                                  Defendants.



                                  FINA L O IO ER O F DISM ISSA L

           ThisCourthavingbeen infonned ofasettlemententered into amongtheRelator,the

  Defendants,theUnited States,andtheparti.
                                         cshavingtiled aStipulationofDismissalgDE 85),itis

  hereby
           ORDERED AND ADJUDGED thatthisactionisdismissed:(a)withprejudicetotheRelator
   fora1lclaims;(b)withprejudicetotheUnitedStatesfortheclaimsreleasedbytheUnitedStatesinthe
   parties'SettlementAgreement;and (c)withoutprejudicetotheUnited Statesand theDefendantsfor
   any claim sin thisaction thatarenotspecitscally released by the United StatesandtheDefendantsin

   the parties'Settlem entA greem ent.ltisadtitionally

           ORDERED AND ADJUDGED thatthiscaseshallbeunsealed asto(a)tbisOrder,(b)the
   United States'NoticeofElectiontolnterveneandJointStipulation ofDismissal,(c)theRelators'
   originalandAmendedComplaint,and(d)1111filingsorpleadingssubmittedafterthefilingofthis
   Order. A11contentsoîtheCourt'sfilein tlAism atterwhich were filedpriortothedateofthisOrder
Case 2:11-cv-14328-JEM Document 86 Entered on FLSD Docket 05/10/2018 Page 2 of 2




  and which arenotnamed aboveshallrem airtsealed,and shallnotbe served on the defendantsor

  otherw ise m adepublic.
         D ON E A N D OR DERED in Cham bers atM iam i,Florida,this    day ofM ay,2018.




                                                  JO SE   M AR   EZ
                                                  1.% 1    STATES D l RICT JUD G E

  Copiesprovided to:
  AllCounselofRecord
